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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                                    *
DOUGLAS DRIBBEN                                     *
                                                    *
               Plaintiff,                           *
                                                    *
v.                                                  *           Civil Case No. 22-cv-01143-SAG
                                                    *
HOMEFIX CUSTOM REMODELING                           *
CORP.                                               *
                                                    *
               Defendant.                           *
                                                    *
*       *       *       *       *       *       *       *       *       *       *       *         *     *

                                               ORDER

        This Order is to confirm the Court’s rulings made at the discovery hearing last week.

Specifically, it is this 14th day of November, 2022, by the United States District Court for the

District of Maryland, ORDERED that:

     (1) Discovery in this case will be bifurcated, with the initial discovery period lasting 60 days

        from the date of last week’s hearing and focusing exclusively on whether the phone calls

        in question were made to Plaintiff’s residential phone line;

     (2) On or before January 9, 2023, Defendant shall either file a dispositive motion relating to

        the above-stated factual issue or submit a letter to this Court indicating its intention to

        move forward with class-wide discovery;

     (3) Plaintiff shall, as soon as possible, provide Defendant with a list of the types of records it

        seeks to preserve from Defendant’s third-party call vendors; and

     (4) Defendant shall, upon receipt of the above-referenced list, send letters to each of its call

        vendors—including the foreign vendor alleged to have dialed Plaintiff—directing them to
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preserve the records identified by Plaintiff. Defendant will be subject to sanctions should

it fail to promptly communicate this directive to its vendors.


                                                        /s/
                                              Stephanie A. Gallagher
                                              United States District Judge




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